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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

TAYLOR HARRELL,                         §
                                        §
              Plaintiff,                §
                                        §
v.                                      §                Cause No. 1:19-cv-593
                                        §
ADVANTAGE BUSINESS                      §
CAPITAL, INC., D/B/A FAR                §
WEST CAPITAL, and,                      §                     A Jury is Demanded
ALL ABOUT PEOPLE, INC.,                 §
D/B/A ALL ABOUT PEOPLE                  §
AUSTIN,

        Defendants.


                COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, TAYLOR HARRELL, by and through her undersigned counsel,

sues Defendant, ADVANTAGE BUSINESS CAPITAL, INC., D/B/A FAR WEST

CAPITAL and ALL ABOUT PEOPLE, INC., D/B/A ALL ABOUT PEOPLE

AUSTIN (hereinafter sometimes referred to collectively as “Defendants”), pursuant

to the Fair Labor Standards Act of 1938 (FLSA), 52 Stat. 1060, as amended, 29

U.S.C. §201 et seq (1994 ed. and Supp. III)(“FLSA”).

                                       PARTIES

     1. Plaintiff is an individual residing in Travis County, Texas.




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2. From November 8, 2018, until May 10, 2019, Defendants employed Plaintiff

   as a receptionist.

3. Plaintiff, TAYLOR HARRELL, was an “employee” of Defendants, as that

   term is defined by the FLSA.

4. During her employment with the Defendants, the Plaintiff was individually

   and directly engaged in interstate commerce by her regular and recurring use

   the instrumentalities thereof (use of internet, interstate mail and interstate

   telephone calls) as part of her regular and recurring job duties, and her work

   was essential to Defendants’ business.

5. During her employment, Defendants paid Plaintiff at the rate of $17.00 per

   hour.

6. Plaintiff’s primary duties were to process clerical work.

7. Plaintiff’s hours of work varied based on Defendants’ schedule and the work

   required for the week.

8. Defendant, ADVANTAGE BUSINESS CAPITAL, INC., D/B/A FAR WEST

   CAPITAL, is a corporation formed and existing under the laws of the State of

   Texas and which maintains and operates a business proving business

   financing in Travis County, Texas, and is subject to the provisions of the

   FLSA because at all relevant times it engaged in interstate commerce or was




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   part of an enterprise engaged in interstate commerce as defined by 29 U.S.C.

   §§203(r) and (s).

9. Defendant, ALL ABOUT PEOPLE, INC., D/B/A ALL ABOUT PEOPLE

   AUSTIN, is a corporation formed and existing under the laws of the State of

   Arizona and which maintains and operates a staffing and recruiting business

   in Travis County, Texas, and is subject to the provisions of the FLSA because

   at all relevant times it engaged in interstate commerce or was part of an

   enterprise engaged in interstate commerce as defined by 29 U.S.C. §§203(r)

   and (s).

10.At all times material to this complaint, Defendants had employees subject to

   the provisions of 29 U.S.C. § 206 in the facility where Plaintiff was employed.

                        JURISDICTION AND VENUE

11.This Court has jurisdiction under the FLSA pursuant to 28 U.S.C. §1331 and

   29 U.S.C. §216(b).

12.Venue is proper pursuant to 28 U.S.C. § 1391(b), because Defendant and

   Plaintiff transacted business within this judicial district and the events

   underlying this complaint occurred within this judicial district.

13.At all times material to this complaint, Defendants employed two or more

   employees and had an annual dollar volume of sales or business done of at

   least $500,000.00.
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14.At all times material to this complaint, Defendants were an enterprise engaged

   in interstate commerce, operating a business engaged in commerce or in the

   production of goods for commerce as defined by § s3(r) and 3(s) of the Act,

   29 U.S.C. §§ 203(r)-(s).

                      UNPAID OVERTIME WAGES

15.Between November 8, 2018, and May 10, 2019, Plaintiff worked numerous

   workweeks in excess of 40 hours per week.

16.As detailed in the spreadsheet attached hereto and incorporated herein by

   reference, Plaintiff is owed 118.30 hours of unpaid overtime for which

   Defendants have repeatedly refused to pay the Plaintiff.

17. During the weeks of employment where Plaintiff worked more than 40 hours,

   Defendants failed to pay Plaintiff time and one-half her regular rate of pay as

   required by the FLSA.

18. At all times relevant to this case, the Defendants had knowledge of Plaintiff’s

   regular and overtime work and Plaintiff’s work benefitted Defendants.

19. Defendants’ actions were willful and in blatant disregard for Plaintiff’s

   federally protected rights.

20. As a result of Defendant’s unlawful conduct, Plaintiff is entitled to actual and

   compensatory damages, including the amount of overtime which was not paid

   and which should have been paid at the proper overtime premium.


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   21. Plaintiff further seeks liquidated damages as Defendants’ conduct is in

      violation of Section 7 of the FLSA, 29 U.S.C. § 207.

   22. Plaintiff also seeks compensation of recoverable expenses, costs of court, and

      reasonable and necessary attorney’s fees pursuant to 29 U.S.C. §216(b).

   23. Plaintiff has retained the law firm of Ross • Scalise Law Group to represent

      her in this suit. Plaintiff has entered into a valid contract with Ross • Scalise

      Law Group and has appointed that firm and the undersigned counsel to be her

      sole agent, attorney-in-fact, and representative in this suit, exclusive of all

      other parties, including Plaintiff.     To avoid tortious interference with

      Plaintiff’s obligations to her attorneys in this suit, all communications

      concerning this suit must be made by Defendants and Defendants’ attorneys

      solely to and through the undersigned counsel. Plaintiff’s contract with and

      representation by Ross • Scalise Law Group, and the undersigned attorney

      gives rise to a claim for reasonable and necessary attorney’s fees that Plaintiff

      is entitled to collect from Defendants pursuant to 29 U. S. C. § 216(b).

                               PRAYER FOR RELIEF

      Plaintiff, TAYLOR HARRELL, prays that the Court assume jurisdiction of

this cause and that Defendants be cited to appear. Plaintiff prays that the Court

award the following relief, under law and equity, as applicable:




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   a. Judgment against Defendants, jointly and severally, for all unpaid overtime

      wages found to be due and owing;

   b. Judgment against Defendants, jointly and severally, that their violations of the

      FLSA were willful;

   c. Judgment against Defendants, jointly and severally, for an amount equal to

      the unpaid overtime compensation as liquidated damages;

   d. If liquidated damages are not awarded, an award of pre-judgment interest;

   e. Post-judgment interest at the applicable rate;

   f. All costs, recoverable expenses and attorney’s fees incurred in prosecuting

      these claims;

   g. Leave to amend to add claims under applicable state laws, if necessary; and,

   h. For such further relief as the Court deems just and equitable to which Plaintiff

      is entitled.

                            JURY TRIAL DEMAND

      Plaintiff, TAYLOR HARRELL, hereby demands a trial by jury on all claims

she has asserted in this Complaint.



                                       Respectfully submitted,

                                       ROSS • SCALISE LAW GROUP




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                          ______________________________
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EXHIBIT A
